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AO 442 (Rev. 11111) Arrest Warrant



                                            UNITED STATES DISTRICT COURT
                                                                                for the

                                                                    District    of Columbia


                    United States of America
                                      v.                                          )
                        Kenneth        Bonawitz
                                                                                  )        Case No.      23-MJ-15
                                                                                  )
                                                                                  )
                                                                                  )
                                                                                  )
                                Defendant


                                                               ARREST WARRANT
To:         Any authorized law enforcement officer


            YOU ARE COMMANDED                     to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                   Kenneth Bonawitz
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment            o    Superseding Indictment               o Information            o   Superseding Information              II: Complaint
o     Probation Violation Petition                o   Supervised Release Violation Petition                 o Violation     Notice      0 Order of the Court

This offense is briefly described as follows:
18 U.S.C.   § 111(a)(I) (Assaulting, Resisting, or Impeding Certain Officers)
18 U.S.C.   § 23 I (a)(3) (Civil Disorder)
18 U.S.C.   § 111(a)(I) and (b) (Inflicting Bodily Injury on Certain Officers)
18 U.S.C.   § 1752(a)(I) and (b)(I)(A) (Entering and Remaining in a Restricted Building or Grounds with a Deadly Weapon or Dangerous Instrument)
18 U.S.C.   § 1752(a)(2) and (b)(l)(A) (Disorderly and Disruptive Conduct in a Restricted Building or Grounds with a Deadly Weapon or Dangerous Instrument)
18 U.S.C.   § I 752(a)(4) and (b)(l)(A) (Engaging in Physical Violence in a Restricted Building or Grounds with a Deadly Weapon or Dangerous Instrument)
40 U.S.C.   § 5104(e)(2)(D) (Disorderly Conduct in a Capitol Grounds or Buildings)
40 U.S.C.   § 5104(e)(2)(F) (Act of Physical Violence in the Capitol Grounds or Buildings)
                                                                                                                            Zia M. Faruqui
                                                                                                                            2023.01.19 14:29:00 -05'00'
Date:            01119/2023
                                                                                                             Issuing officer's signature

City and state:                        Washington, D.C.                                         Zia M. Farugui,        U.S. Magistrate       Judge
                                                                                                               Printed name and title


                                                                               Return

           This warrant was received on (date)      0\           f Iq ( ?-o '), 3     , and the person was arrested on (date)
at (city and state)     ro~pev-() 6e.t:lt>i., FlctYJct
                                  I               •


Date:            I I 'M')3
             D i 'l.G
